                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:12-CV-765
                                     3:04-CR-250-4


FREDERICK LAMAR HUSKEY                              )
                                                    )
      v.                                            )                 AMENDED ORDER1
                                                    )
UNITED STATES OF AMERICA                            )
                                                    )


           THIS MATTER is before the Court upon granting the defendant’s Motion to Vacate his

sentence.

           IT IS, THEREFORE, ORDERED that the United States Marshal have the defendant

Fredrick Lamar Huskey (Reg. No. 19753-058) present in Charlotte, North Carolina forthwith,

but not later than March 18, 2014, at 10:30 a.m. for a sentencing hearing.

           IT IS FURTHER ORDERED that the Community Defender shall designate counsel

promptly to represent the defendant for the remainder of this case, unless he retains other

counsel.

           The Clerk is directed to certify copies of this Order the defendant, defendant’s counsel,

the United States Attorney, the United States Marshals Service, the United States Probation

Office, and the Clerk of the United States Court of Appeals for the Fourth Circuit.

                                          Signed: February 27, 2014




1
    Amendment is to correct the defendant’s Bureau of Prisons Register Number.


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